IS 43 (Rev. 05/21)

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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS

Staiger, Gayle and Staiger, John

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm None, Address, and Telephone Nwnder)

Snoke Dubbs and
204 St. Charles W
York, PA 17402

Buhite Law, Inc.
ay, Suite F

Butler County, Ohio

(SEE INSTRUCTIONS ON NEXT PAGE OF THES FORM)

DEFENDANTS

Attornevs Af Known)

 

County of Residence of First Listed Defendant

Weis Markets, Inc., Individually and d/b/a Weis Markeis

Northumberland

(IN US. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

Il. BASIS OF JURISDICTION @Piace ai “x” in One Box Only)

[Ji US. Government

 

(For Diversiny Cases Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” inOne Box for Plainiff

and One Box for Defendanz)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C43 Federal Question PIF DEF PIF DEF
Plaintiff (U.S. Government Not a Pary) Citizen of This State LJ! [2] 1. Incorporated or Principal Place tls [kljs
of Business In This State
[]2 US. Goverament [x]+ Diversity Citizen of Another State [x]2 ((] 2 IncorporatedandPrincipalPlace [] 5 []5
Defendant €ndicare Citizenship of Parties in Ire IZ) of Business In Another State
Citizen of Subject of a FJ3 (1) 3 Foreign Nation flé [ie
Foreign Country
IV. NATURE OF SUIT Pisce an “x” in One Box Oniy) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
[_] 110 Insurance PERSONAL INJURY PERSONALINJURY [_]625 Drug Related Seizure 222 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane [] 365 Personal Injury - of Property 21 USC $81 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability [] 367 Health Care INTELLECTUAL | _] +00 State Reapportionment
Ch 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitnast
& Enforcement of Judgment] Slender Personal Injury [-] $20 Copyrights 430 Banks and Banking
= 151 Medicare Act 330 Federal Employers’ Product Liability | $30 Patent | 450 Commerce
|_| 152 Recovery of Defaulted Liabiliny [J 368 Asbestos Personal | (835 Pareat= Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product aa New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability $40 Trademark Corrupt Organizations
[7] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR P] $80 Defend Trade Secrets |_| 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle | 370 Other Fraud 710 Fair Labor Standards Actof2016 (15 USC 1681 or 1692)
CT] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act ] 485 Telephone Consumer
[_] 190 Ocher Comract Product Liability [__] 380 Other Personal |] 720 Labor‘ Management SOCIAL SECURITY Protection Act
|_| 195 Contract Product Liabiliny [x] 360 Other Personal Property Damage Relations | | S6l HLA (1395f) 390 Cable/Sar TV
|_| 196 Franchise Injury CO 385 Property Damage = 740 Railway Labor Act C $62 Black Lung ($23) $50 Securities‘ Commodities.
362 Personal Injury - Product Liability 751 Family and Medical |} §3 DWC: DIWWw (405(z)) Exchange
Medical Malpractice Leave Act |_| 864 SSID Title XVI | $90 Other Statutory Actions
I REAL PROPERTY CIVIL RIGHIS PRISONER PETILIONS 790 Other Labor Litigation |[_| 865 RSI (405(g)) |_| $91 Agriculmral Acts
|_]210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement $93 Environmental Matters
[| 220 Foreclosure +41 Voung 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
= 230 Rent Lease & Ejectment 442 Employment 310 Motions to Vacate [_] 870 Taxes (U.S. Plainriff Act
|_| 240 Torts to Land 4463 Housing) Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations 530 General [_] 871 IRS—Third Party = $99 Administrative Procedure
{| 290 All Other Real Property |_| 445 Amer. w Disabilities -[ 5 Death Penalty IVEMIGRATION 26 USC 7609 Act Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. wDisabilities-[/ ] 5+0 Mandamus & Other 465 Other Immigration |_| 950 Constitutionality of
Other |_| 330 Cisal Rights cActions State Stannes
448 Education — $35 Prison Condition
|_| 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN lace a “x in O

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Proceeding State Court _ Appellate Court Reopened Another District Litigation - Litigation -
fspecifi) Transfer Direct File

 

VI. CAUSE OF ACTION

28 US Code 1332

Brief description of cause:
Fall down case at Weis Markets

 

Cite the U.S. Civil Statute under which you are filing (Do nor cite jurisdictional statutes unless div ersity):

 

VII. REQUESTED IN

 

_] CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint
COMPLAINT: UNDER RULE 23, FR.CvP. $75,000 JURY DEMAND: [xlyes [No
VIII. RELATED CASE(S)
, (See instructions):
IF ANY JUDGE DOCKET NUMBER

 

 

DATE
August 9, 2024
FOR OFFICE USE ONLY

RECEIPT =

AMOURKT

Qa £7

APPLYING IFP

 

SIGNATURE OF ATTORNEY OF RECORD

JUDGE

MAG. JUDGE
Case 1:21-cv-01383-YK Document 1 Filed 08/09/21 Page 2 of 9

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

GAYLE STAIGER and : Civil Action No.
JOHN STAIGER, :

PLAINTIFFS
Vv.

WEIS MARKETS, INC.
Individually and d/b/a
WEIS MARKETS,

DEFENDANT. : JURY TRIAL DEMANDED

 

COMPLAINT

l. Plaintiff, Gayle Staiger, is an adult individual currently residing at
6410 Wilderness Trail, West Chester, Ohio.

2. Defendant, Weis Markets, Inc., is a Pennsylvania Corporation with
headquarters located at 1000 S. 2" Street, Sunbury, Pennsylvania.

3. At all times relevant hereto, Defendant Weis Markets Inc.., owned and
operated a convenience store (hereinafter Store), located at 2600 Willow Street
Pike, Willow Street, Pennsylvania 17584.

4, At all relevant times, Defendant Weis Markets, Inc., acted through its
agents, workers and/or employees, all of whom were working in the course and
scope of their agency relationship with Defendant Weis Markets, Inc. This Court
has jurisdiction pursuant to 28 U.S. Code 1332.

5. At all relevant times, Defendant Weis Markets, Inc., had a duty to

maintain the Store in a safe condition for all persons entering upon the premises.
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6. At all relevant times, Defendant Weis Markets, Inc, had a duty to
warn of dangerous conditions on the Store premises.

7. At all relevant times, Defendant Weis Markets, Inc., had a duty to
correct dangerous conditions on the Store premises.

8. At all relevant times, Defendant Weis Markets, Inc., knew or should
have known of the dangerous conditions of the Store premises.

9. On or about the morning of August 9, 2019, Plaintiff, Gayle Staiger,
was a business invitee at the Weis Markets. located at 2600 Willow Street Pike,
Willow Street, Lancaster County, Pennsylvania 17584.

10. As Ms. Staiger was in the water aisle heading toward the checkout
area she fell.

11. As she had no medical condition, Ms. Staiger believes and avers that
there must have been a substance in the aisle which caused her fall.

12. Another patron located Ms. Staiger on the floor bleeding from her
head and disoriented.

13. The store manager was notified.

14. Emergency Medical Services arrived on scene and transported Ms,
Staiger to Lancaster General Hospital.

15. Atallrelevant times Defendant had a duty to maintain safe aisle ways.
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16. As a direct and proximate result of the negligence of Defendant,
Plaintiff suffered:

(a) left frontal scalp laceration;

(b) subarachnoid hemorrhage of left sylvan fissure;

(c) left shoulder pain and injury, all of which may be permanent in
nature, all of which have caused her great pain and suffering, to her loss and
detriment.

17. As a further result of the negligence and carelessness of Defendant,
Plaintiff suffered and continues to suffer physical, mental, and emotional pain,
discomfort, frustration, loss of life’s pleasures, and the ability to attend to her usual
and daily activities and will continue to suffer same for an indefinite time into the
future, all to her great loss and detriment.

18. As a further result of the negligence and carelessness of Defendant,
Plaintiff has been obligated to seek medical treatment for her injuries, including
but not limited to medication, physical therapy and potentially surgery.

19. As a further result of the negligence and carelessness of Defendant,
Plaintiff has incurred medical expenses in the past, and will continue to incur
medical expenses in the future.

20. As a further result of the negligence and carelessness of Defendant,
Plaintiff has been caused to incur other expenses.

21. As a further result of the negligence and carelessness of Defendant,

Plaintiff has suffered scarring and disfigurement.
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22. Plaintiff's injuries and damages were in no part due to any act or

failure to act on the part of Plaintiff.

COUNT I
PLAINTIFF, GAYLE STAIGER v. WEIS MARKETS, INC.

23. Plaintiff incorporates herein by reference each and every averment
contained in Paragraphs | through 22 as though the same were set forth fully
herein at length.

24. The negligence and carelessness of Defendant consisted of the
following:

a. Failing to adequately notify customers of potential
hazards in the water aisle;

b. Failing to timely and adequately inspect the premises
for dangerous conditions;

c. Failing to have and/or enforce adequate policies,
procedures and guidelines regarding inspection of the premises;

d. Failing to have and/or enforce adequate policies,
procedures and guidelines regarding timely discovery of dangerous
conditions;

e. Failing to have and/or enforce adequate policies,

procedures and euidelines regarding supervision of employees;
Case 1:21-cv-01383-YK Document 1 Filed 08/09/21 Page 6 of 9

f. Failing to have and/or enforce adequate policies,
procedures and guidelines to warn patrons of dangerous conditions;

g, Failing to properly manage and train its employees
regarding inspection of its premises, preventing dangerous conditions,
and fixing dangerous conditions; and

h. Failing to employ competent employees.

25. Asa direct result of the negligence of Defendant, as set forth above,
Plaintiff suffered the serious and painful injuries referenced above.
WHEREFORE, Plaintiff demands judgment against Defendant for compensatory
damages in an amount in excess of $75,000.00 plus interest and costs of suit.

Count II

LOSS OF CONSORTIUM - PLAINTIFF, JOHN STAIGER v. WEIS
MARKETS, INC

26. Paragraphs one (1) through twenty-five (25) of Plaintiffs’ Complaint
are incorporated herein by reference thereto.

27. By reason of the injuries to Plaintiff Gayle Staiger as set forth within
this Complaint resultmg from Defendant Weis Markets, Inc., negligence as set
forth herein, Plaintiff John Staiger was deprived of and in the future may be
deprived of the aide, society, care, comfort and companionship of his wife to
which he was entitled and would have received, but for the negligence of

Defendant Weis Markets, Inc. for all of which damages are claimed.
Case 1:21-cv-01383-YK Document 1 Filed 08/09/21 Page 7 of 9

WHEREFORE, Plaintiff John Staiger demands judgment against
Defendant Albright in an amount in excess of seventy-five thousand dollars
($75,000.00), together with interest and costs thereon as allowed by law.

Respectfully submitted,

SNOKE DUBBS & BUHITE LAW, INC.

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Amanda Snoke Dubbs, Esq.
PA Supreme Court ID: 202254
Sarah E. Buhite
PA Supreme Court ID: 201415
Attorney for Plaintiffs
204 St. Charles Way, Suite F
York, PA 17402
Telephone: (717)430-6730
amanda@sdblawgroup.com
sarah@sdblawgroup.com
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VERIFICATION

 

 

 

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Slated herein,

 

 

 

 
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“VERIFICATION —

 

 

 
